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   IT IS ORDERED as set forth below:



   Date: November 9, 2022
                                                      ________________________________
                                                                  Paul Baisier
                                                          U.S. Bankruptcy Court Judge

   _______________________________________________________________




                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION



 In re:                                           Chapter 7

 ATLANTA LIGHT BULBS, INC.,                       Case No. 22-52950-PMB

                   Debtor.                        JUDGE BAISIER




                        CONSENT ORDER ALLOWING CHAPTER 7
                 ADMINISTRATIVE EXPENSE AND AUTHORIZING PAYMENT
          Before the Court is Oracle America, Inc.’s, successor in interest to NetSuite, Inc.

 (“Oracle”), request for allowance and payment of a Chapter 7 administrative expense in the

 amount of $20,841.22, pursuant to sections 503(a) and (b) of the Bankruptcy Code (the

 “Administrative Request”), for goods and products provided, and services rendered, by Oracle to
 the to estate of Atlanta Light Bulbs, Inc. (“Debtor”) after July 7, 2022, the date of Conversion to

 Chapter 7, and as administered by Chapter 7 Trustee S. Gregory Hays (“Trustee”). [Doc. 151].

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 The Administrative Request was duly noticed and scheduled for hearing on November 7, 2022.

 There was no opposition at the hearing.

         The Court has considered the Administrative Request and the record, including the

 Chapter 7 Trustee’s consent to the Administrative Request. As such, and for good cause shown,

 it is hereby

         ORDERED that Oracle’s Administrative Request is GRANTED.

         It is FURTHER ORDERED that Oracle America, Inc. shall have a Chapter 7

 administrative expense claim in the amount of $20,841.22 (“Oracle’s Allowed Chapter 7

 Administrative Claim”); and
         It is FURTHER ORDERED that the Chapter 7 Trustee shall pay Oracle’s Allowed

 Chapter 7 Administrative Claim in the ordinary course.

         It is FURTHER ORDERED that Oracle may terminate any provision of service to the

 Debtor or Estate upon entry of this Order; provided, however, that Oracle shall not destroy or

 delete any data of the Debtor until at least December 31, 2022.

                                    [END OF DOCUMENT]




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 Prepared and Presented by:


 Caiola & Rose LLC
 /s/ Elizabeth B. Rose
 Elizabeth B. Rose, Esq.
 Ga Bar No. 558747
 elizabeth@caiolarose.com

 Counsel for Oracle America, Inc.

 Consented to by:

 Law Offices of Henry F. Sewell, Jr., LLC

 /s/ Henry F. Sewell Jr.*
 Signed by Elizabeth B. Rose with express permission
 Henry F. Sewell Jr.
 Georgia Bar No.636265
 hsewell@sewellfirm.com

 Counsel for the Chapter 7 Trustee S. Gregory Hays




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                                        Distribution List

 Tucker Ellis LLP
 Suite 6950
 233 S. Wacker Dr.
 Chicago, IL 60606-9997


 Law Offices of Henry F. Sewell, Jr., LLC
 Suite 555
 2964 Peachtree Road, NW
 Atlanta, GA 30305


 Thomas Dworschak
 Office of the U. S. Trustee
 Room 362
 75 Ted Turner Drive, SW
 Atlanta, GA 30303


 Kathleen G. Furr
 Baker Donelson
 3414 Peachtree Road, NE
 Suite 1500, Monarch Plaza
 Atlanta, GA 30326


 Atlanta Light Bulbs, Inc.
 2109 Mountain Industrial Blvd
 Tucker, GA 30084

 Shawn M. Christianson, Esq.
 Valerie Bantner Peo, Esq.
 BUCHALTER, A Professional
 Corporation 425 Market Street, Suite 2900
 San Francisco, California 94105




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